                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

In the matter of:
                                              Case No. 24-41956-MAR
BRANDON HEITMANN                              Chapter 7
                                              Judge: Mark A. Randon
                    Debtor(s)
________________________/



                        Notification of Asset Case (No Hearing Set)
                      To Clerk of the United State Bankruptcy Court:

I, DOUGLAS S. ELLMANN, having been appointed Trustee of the estate of the above-named
debtor(s), hereby notify the Clerk of the United States Bankruptcy Court that assets will be
administered in the above-captioned case and appropriate notice should be given to creditors to
file claim.


Dated: 04/18/2025                                   /s/ Douglas Ellmann
                                                    Douglas S. Ellmann, Trustee
                                                    (P34617)
                                                    3140 Baker Rd. #395
Dexter, MI 48130
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